                               IN THE UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF WISCONSIN

CHARLES W. BEAL, JR.,

                  Plaintiff,

         v.
                                                            Case No. 12-CV-1146
OFFICER JAMES BELLER
and OFFICER MATT STRELOW,

                  Defendants.


              PLAINTIFF’S PROPOSED SUBSTANTIVE JURY INSTRUCTIONS


         Plaintiff, Charles W. Beal, Jr., (“Plaintiff”) by his attorneys, Husch Blackwell LLP, hereby

proposes that the Court instruct the jury as to the special verdict as follows:




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                  FOURTH AMENDMENT: TERRY (INVESTIGATORY) STOP1

          Plaintiff claims that Defendants seized him without reasonable suspicion. To succeed on this

claim, Plaintiff must prove the following by a preponderance of the evidence:

          Defendants did not have a reasonable suspicion that Plaintiff either had committed; was

committing; or was about to commit a crime. Reasonable suspicion must be based on specific facts

known to the officer, together with the reasonable inferences from those facts. A hunch does not

constitute reasonable suspicion.

          If you find that Plaintiff has proved this by a preponderance of the evidence, then you must

decide for Plaintiff, and go on to consider the question of damages.

          If, on the other hand, you find that Plaintiff has failed to prove this by a preponderance of the

evidence, then you must decide for Defendants, and you will not consider the question of damages.




1
    Source: Pattern Civil Jury Instructions of the United States Courts for the Seventh Circuit, § 7.06.


                                                        2
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    PARTICULAR RIGHTS—FOURTH AMENDMENT—UNREASONABLE SEARCH—
           EXCEPTION TO WARRANT REQUIREMENT—TERRY FRISK2

         In general, a search of a person is unreasonable under the Fourth Amendment if the search is

not authorized by a search warrant. A “search warrant” is a written order signed by a judge that

permits a law enforcement officer to search a particular person, place, or thing. Under an exception

to this rule, a warrantless search of a person for weapons is permissible when an officer reasonably

believes that the person is armed and dangerous.

         A search for weapons is permissible if, under all the circumstances known to the officers at

the time:

         1.       the officers had a reasonable suspicion that the person was armed and presently

                  dangerous to the officers or to others; and

         2.       the scope of the search was strictly limited to that which is necessary for the

                  discovery of weapons.

         “Reasonable suspicion” is a particularized and objective basis for suspecting the plaintiff is

armed. The officers are permitted to draw on their own experience and specialized training to make

inferences from and deductions about the cumulative information available to them.




2
 Source: Manual of Model Civil Jury Instructions of the United States Courts for the Ninth Circuit, §
9.22.


                                                    3
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                                      FOURTH AMENDMENT:
                                    FALSE ARREST – ELEMENTS3

          Plaintiff claims that Defendants falsely arrested him. To succeed on this claim, Plaintiff must

prove the following by a preponderance of the evidence:

          Defendants did not have probable cause to arrest Plaintiff.

          If you find that Plaintiff has proved this by a preponderance of the evidence, then you must

decide for Plaintiff, and go on to consider the question of damages.

          If, on the other hand, you find that Plaintiff has failed to prove this by a preponderance of the

evidence, then you must decide for Defendants, and you will not consider the question of damages.




3
    Source: Pattern Civil Jury Instructions of the United States Courts for the Seventh Circuit, § 7.07.


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                                    DAMAGES: COMPENSATORY4

          If you find in favor of Plaintiff on one or more of Plaintiff’s claims, then you must determine

the amount of money that will fairly compensate Plaintiff for any injury that you find he sustained as

a direct result of the unreasonable search and/or unreasonable seizure.

          Plaintiff must prove his damages by a preponderance of the evidence. Your award must be

based on evidence and not speculation or guesswork. This does not mean, however, that

compensatory damages are restricted to the actual loss of money; they include both the physical and

mental aspects of injury, even if they are not easy to measure.

          You should consider the following types of compensatory damages, and no others:

          a.       The physical and mental and emotional pain and suffering and loss of a normal life

                   that Plaintiff has experienced. No evidence of the dollar value of physical or mental

                   and emotional pain and suffering or loss of a normal life has been or needs to be

                   introduced. There is no exact standard for setting the damages to be awarded on

                   account of these factors. You are to determine an amount that will fairly compensate

                   the Plaintiff for the injury he has sustained.

          b.       The wages, salary, and earning capacity that Plaintiff has lost.

          If you return a verdict for Plaintiff, but Plaintiff has failed to prove compensatory damages,

then you must award nominal damages of $1.00.




4
    Source: Pattern Civil Jury Instructions of the United States Courts for the Seventh Circuit, § 7.26.


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                                         DAMAGES: PUNITIVE5

           If you find for Plaintiff, you may, but are not required to, assess punitive damages against

Defendant. The purposes of punitive damages are to punish a defendant for his or her conduct and to

serve as an example or warning to Defendant and others not to engage in similar conduct in the

future.

           Plaintiff must prove by a preponderance of the evidence that punitive damages should be

assessed against Defendant. You may assess punitive damages only if you find that his conduct was

malicious or in reckless disregard of Plaintiff’s rights. Conduct is malicious if it is accompanied by

ill will or spite, or is done for the purpose of injuring Plaintiff. Conduct is in reckless disregard of

Plaintiff’s rights if, under the circumstances, Defendant simply did not care about Plaintiff’s rights.

           If you find that punitive damages are appropriate, then you must use sound reason in setting

the amount of those damages. Punitive damages, if any, should be in an amount sufficient to fulfill

the purposes that I have described to you, but should not reflect bias, prejudice, or sympathy toward

any party. In determining the amount of any punitive damages, you should consider the following

factors:

                  the reprehensibility of Defendant’s conduct;

                  the impact of Defendant’s conduct on Plaintiff;

                  the relationship between Plaintiff and Defendant;

                  the likelihood that Defendant would repeat the conduct if an award of punitive

                   damages is not made;

                  the relationship of any award of punitive damages to the amount of actual harm the

                   Plaintiff suffered.

5
    Source: Pattern Civil Jury Instructions of the United States Courts for the Seventh Circuit, § 7.28.


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         Dated this 5th day of April, 2018.


                                               /s/ Margaret K. Heitkamp
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